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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 19-cr-00098-CMA-01

UNITED STATES OF AMERICA,

             Plaintiff,

v.

LEONARD LUTON,

       Defendant.



     GOVERNMENT’S SUPPLEMENT TO ITS MEMORANDUM IN SUPPORT OF ITS
                       JAMES PROFFER, ECF 76


       The United States of America (the government), by Martha A. Paluch, and Sarah

H. Weiss, Assistant United States Attorneys, respectfully submits this supplement to its

Memorandum in Support of its James Proffer filed January 8, 2020, ECF 76.

       In support, the government states as follows:

       1. A James hearing is scheduled to commence at 10:00 a.m. on Tuesday,

February 4, 2020. The government has provided to the Court a final log of the co-

conspirator statements for which it will seek admission. ECF 89.

       2. During the hearing, the government will address the phone numbers

referenced in those documents and how the government intends to prove they are

associated with the defendant’s coconspirator and co-defendant Rajay Dobson.

       3. For ease of reference, the government provides the Court and counsel with

the chart attached hereto as Attachment 1, which sets forth these phone numbers and

their association to Dobson. Attachment 2 to this Supplement contains the contacts for


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Dobson referenced in the government’s Final James log which were retrieved from the

defendant’s cellphone.

      Respectfully submitted this 28th day of January, 2020.


                                       JASON R. DUNN
                                       United States Attorney


                                       s/ Martha A. Paluch
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                               CERTIFICATE OF SERVICE


        I hereby certify that on this 28th day of January, 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to counsel of record.



                                           s/Martha A. Paluch
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